     Case 2:21-cv-06585-AB-SP Document 12 Filed 10/25/21 Page 1 of 1 Page ID #:39



1
                                                                                    JS-6
2
3
4
5
6
7
8                              UNITED STATES DISTRICT COURT
9                             CENTRAL DISTRICT OF CALIFORNIA
10                                                  Case No. 2:21-CV-06585-AB (SPx)
11      WILLIAM LOFTUS, individually and
        on behalf of all others similarly
12      situated,
                                                    ORDER DISMISSING CIVIL
                        Plaintiff,                  ACTION AND VACTING DATES
13
14      v.
15      CLIPPER MAGAZINE LLC, and
        DOES 1 through 10, inclusive, and
16      each of them,
17                      Defendants.
18
19           THE COURT having been advised by counsel that the above-entitled action has
20     been settled;
21           IT IS THEREFORE ORDERED that this action is hereby dismissed without
22     costs and without prejudice to the right, upon good cause shown within sixty-five (65)
23     days, to re-open the action if settlement is not consummated. This Court retains full
24     jurisdiction over this action and this Order shall not prejudice any party to this action.
25     All pending dates and deadlines are VACATED.
26
       Dated: October 25, 2021          _______________________________________
27                                      HONORABLE ANDRÉ BIROTTE JR.
28                                      UNITED STATES DISTRICT JUDGE

                                                  1.
